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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



  LAMAR L. MIDDLETON,                      )       CASE NO.1:13CR0345
                                           )               1:16CV1604
                                           )
                           Petitioner,     )       JUDGE CHRISTOPHER A. BOYKO
                                           )
                Vs.                        )
                                           )
  UNITED STATES OF AMERICA,                )       OPINION AND ORDER
                                           )
                           Respondent.     )

  CHRISTOPHER A. BOYKO, J:

         This matter is before the Court on Petitioner’s Motion to Vacate, Set Aside, or

  Correct Sentence Pursuant to 28 U.S.C. §2255 (ECF #1688). The Government filed a

  Response in Opposition to Petitioner’s Motion (ECF#1700). Petitioner filed a Response

  to Government’s Response (ECF#1708). For the following reasons, the Court denies

  Petitioner’s Petition.

                                         FACTS

         On September 11, 2011, a Superseding Indictment charged Petitioner with

  various crimes, including Conspiracy to Possess With Intent to Distribute Heroin and the


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  Distribution of Cocaine. Pursuant to a Plea Agreement, Petitioner pled guilty to

  Conspiracy to Possess With Intent to Distribute Heroin and the Distribution of Cocaine

  on February 19, 2015. A Presentence Investigation Report (“PSR”) was prepared and

  found Petitioner to be a Career Offender under Sentencing Guideline § 4B1.1, based on

  his two prior convictions for Drug Trafficking, which increased the Base Offense Level

  from a Level 16 to 32. Petitioner was credited with a three-level reduction for

  acceptance of responsibility, making his total Offense Level 29. At Criminal History

  Category VI, his Guideline range was 151-188 months. On May 20, 2015, Petitioner

  was sentenced to 151 months’ imprisonment; three years Supervised Release and a

  $200.00 special assessment.

        Petitioner filed a Notice of Appeal. The Court of Appeals for the Sixth Circuit

  dismissed Petitioner’s Appeal on June 5, 2015, based on the appellate waiver found in

  his Plea Agreement. On June 24, 2016, Petitioner filed the instant Motion to Vacate,

  Set Aside or Correct Sentence. In his Motion, Petitioner contends that he was

  improperly categorized as a Career Offender based on offenses that are no longer

  violent felonies under Johnson v. United States, 135 S. Ct. 2551 (2015).

                             STANDARD OF REVIEW

        Section 2255 of Title 28, United States Code, provides:

               A prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws
               of the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack, may move the court which imposed the sentence to vacate,
               set aside or correct the sentence.


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         In order to prevail upon a §2255 motion, the movant must allege as a basis for

  relief: ‘(1) an error of constitutional magnitude; (2) a sentence imposed outside the

  statutory limits; or (3) an error of fact or law that was so fundamental as to render the

  entire proceeding invalid. ’” Mallett v. United States, 334 F.3d 496-497 (6th Cir. 2003),

  quoting Weinberger v. United States, 268 F.3d 346, 351 (6th Cir.2001).

                                     ANALYSIS


         In its Response in Opposition, Respondent asserts that Petitioner is a Career

  Offender due to drug offenses, not the violent offenses that were the subject of

  Johnson. In his Motion and Response, Petitioner argues that his prior felony

  convictions used to classify him as a “career offender” under § 4B1.1 were improperly

  categorized as crimes of violence, making his sentence a violation of his right to due

  process. Petitioner is mistaken. To be categorized a “career offender” a defendant

  must have at least two prior felony convictions of a crime of violence or a controlled

  substance offense. The opinion in Johnson had nothing to do with the “controlled

  substance offense” prong of § 4B1.2, the prong under which Petitioner was determined

  to be a Career Offender.

         Petitioner contends that because he never actually served a prison sentence for

  the Drug Trafficking conviction it cannot count as a prior felony conviction for the

  purpose of designating him as a Career Offender. Again, Petitioner is mistaken. As the

  application notes of § 4B1.2 make clear, a “prior felony conviction” means “a prior adult

  federal or state conviction for an offense punishable by death or imprisonment for a

  term exceeding one year...regardless of the actual sentence imposed.” U.S.S.G. §

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  4B1.2.

           Petitioner voluntarily waived his collateral attack rights in a binding Plea

  Agreement. Petitioner has not challenged the waiver of his rights in his Plea Agreement

  and has never appealed his Criminal History category.

           Petitioner mistakenly contends that his two prior drug trafficking convictions were

  for the same conduct, and therefore, should have been considered part of the same

  course of action towards the “instant offense” of drug trafficking. Petitioner is incorrect

  in his attempt to apply a rule of admissibility, which applies during the evidentiary phase

  of a case with a sentencing procedure, during which the rules of evidence need not be

  followed. A sentencing court is required to consider a defendant’s prior convictions.

           Petitioner has failed to provide the Court with any basis for relief under Section

  2255. Therefore, for the foregoing reasons Petitioner’s Motion to Vacate is denied.

           Furthermore, the Court declines to issue a certificate of appealability.

           28 U.S.C. §2253(c) states:

        (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
  appeal may not be taken to the court of appeals from--

  (A) the final order in a habeas corpus proceeding in which the detention complained of
  arises out of process issued by a State court; or

  (B) the final order in a proceeding under section 2255.

  (2) A certificate of appealability may issue under paragraph (1) only if the applicant has
  made a substantial showing of the denial of a constitutional right.

  (3) The certificate of appealability under paragraph (1) shall indicate which specific issue
  or issues satisfy the showing required by paragraph (2).

           In Slack v. McDaniel, 529 U.S. 473, 483-4 (2000) the Supreme Court held,


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         To obtain a COA under 2253(c), a habeas prisoner must make a substantial
         showing of the denial of a constitutional right, a demonstration that, under
         Barefoot, includes showing that reasonable jurists could debate whether (or, for
         that matter, agree that) the petition should have been resolved in a different
         manner or that the issues presented were “ ‘adequate to deserve encouragement
         to proceed further.’ ” (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)
         superceded by statute.

         Since the Court has determined Petitioner’s claims in his Motion to Vacate are

  meritless, Petitioner has failed to make a substantial showing that he was denied any

  constitutional right. Therefore, the Court will not issue a certificate of appealability.




          IT IS SO ORDERED.




   September 7, 2016                    s/Christopher A. Boyko
   Date                                 CHRISTOPHER A. BOYKO
                                        United States District Judge




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